Case 22-05032           Doc 195        Filed 03/22/23        Entered 03/22/23 22:22:54               Page 1 of 3




                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF CONNECTICUT
                                    BRIDGEPORT DIVISION

In Re:                              )                          CHAPTER 11
                                    )
HO WAN KWOK, GENEVER                )                          CASE NO.: 22-50073 (JAM)
HOLDINGS CORPORATION and            )
GENEVER HOLDINGS LLC                )
____________________________________)
                                    )
PACIFIC ALLIANCE ASIA               )                          ADV. PRO. NO.: 22-05032
OPPORTUNITY FUND L.P.,              )
                                    )
                  Plaintiff,        )
                                    )
v.                                  )
                                    )
HO WAN KWOK,                        )                          MARCH 22, 2023
                                    )
                  Defendant.        )
____________________________________)


                         AMENDED DISCLOSURE OF COMPENSATION

         Pursuant to Fed. R. Bankr. P. 2016(b), undersigned counsel for Defendant Ho Wan Kwok

in the above-captioned adversary proceeding, David S. Wachen, submits this amendment to his

Disclosure of Compensation dated January 5, 2023, based on additional information that has

become available and to provide greater clarity. Undersigned counsel discloses that his firm,

Wachen LLC, has, as of the date of this filing, received the following payments to its attorney trust

account1 to be used as compensation paid to his firm and Defendants’ local counsel for services

rendered on behalf of Defendant in connection with this matter as well as to cover out-of-pocket

expenses associated with this representation:



1
  The amount referenced in the Disclosure of Compensation dated January 5, 2023 involved funds received in the
firm’s operating account and not funds that were disbursed directly from the firm’s trust account to Defendant’s local
counsel.
Case 22-05032       Doc 195     Filed 03/22/23      Entered 03/22/23 22:22:54       Page 2 of 3




 Date                             Amount                          Payee
 11/28/2022                       $22,980.00                      Macaron Limited
 12/2/2022                        $9,980.00                       Macaron Limited
 12/9/2022                        $9,987.00                       Mimaii NZ Limited
 12/9/2022                        $9,975.00                       Joyord Sportswear Limited
 12/20/2022                       $79,980.00                      Macaron Limited
 1/17/2023                        $45,565.19                      Macaron Limited


       Counsel has been informed that the source of these payments was Qiang Guo (Defendant’s

son), as compensation for legal fees, including contractor and out-of-pocket expenses, incurred in

this matter. Undersigned counsel’s firm has not shared or agreed to share its fees with any person

or party. Defendant has agreed to pay the undersigned’s firm’s legal fees and expenses, but

payment is expected from Qiang Guo (Defendant’s son).

Dated: March 22, 2023                        DEFENDANT
                                             HO WAN KWOK


                                     By:     /s/ David S. Wachen
                                             David S. Wachen (pro hac vice)
                                             WACHEN LLC
                                             11605 Montague Court
                                             Potomac, MD 20854
                                             240-292-9121
                                             Fax 301-259-3846
                                             david@wachenlaw.com




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Case 22-05032      Doc 195      Filed 03/22/23      Entered 03/22/23 22:22:54        Page 3 of 3




                                CERTIFICATE OF SERVICE

       I certify that, on March 22, 2023, I caused a copy of the foregoing to be filed

electronically with the Court’s electronic filing system. Notice of this filing will be sent by e-

mail to all parties by operation of the Court’s electronic filing system—including, in particular,

counsel for the United States Trustee as required by Fed. R. Bankr. P. 2016(b)—or by mail to

anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties

may access this filing through the Court’s CM/ECF system.


                                                     /s/David S. Wachen
                                                     David S. Wachen




                                                3
